                                      Case 3:19-cv-00019-CDL Document 1-1 Filed 02/20/19 Page 1 of 1
JS 44 (Rev. 02/19)
                                                                                   CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE !NSTRUCT!ONS ON NEXT PAGE OF TH!S FORM)

I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
    Joshua A. Michael, Hillary A. Michael, and William T. Russell, individually GRP Madison, LLC, Georgia Renewable Power, LLC, and
    and as trustee for the William T. Russell Inter Vivos Trust                 GreenFuels Energy, LLC
      (b) County of Residence ofFirst Listed Plaintiff _M_a_d_i_s_o_n_______     County of Residence of First Listed Defendant
                                      (EXCEPT IN U.S. PLAINT!FF CASES)                                                                                  (lN U.S. PLAINT!FF CASES ONLY)
                                                                                                                       NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED.


        (C) Attorn_t;)'S (Firm NamehAddress, and Telephone Number)                                                     Attorneys (ff Known)
    Tyler J. Snirr & Donald u.J. Stack, Stack & Associates, P.C.
    260 Peachtree Street, Suite 1200, Atlanta, GA 30303
    (404) 525-9205

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                 Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "-X" in One Box/or Plaintiff
                                                                                                                  (For Diversity Cases Only)                                             and One Box/or Defendant)
0       1   U.S. Government                  2$   3   Federal Question                                                                     PTF            DEF                                          PTF      DEF
               Plaintiff                                (U.S. Government Not a Party)                        Citizen of This State         0 I            0     I   Incorporated or Principal Place      0 4     04
                                                                                                                                                                      of Business In This State

0 2         U.S. Government                  0 4      Diversity                                              Citizen of Another State          0    2     0     2   Incorporated and Principal Place       0   5   0 5
               Defendant                                (lndicate Citi=enship of Parties in ltem Ill)                                                                  of Business In Another State

                                                                                                             Citizen or Subject of a           0    3     0     3   Foreign Nation                         0 6     0 6
                                                                                                               Forei n Count
IV NATURE OF SUIT (Place an "X"" in One Box Only)                                                                                                          Click here for: Nature of Smt. Cd
                                                                                                                                                                                           o e Descriotions.
I              CONTRACT                                                  TORTS                                 FORFEITURE/PENALTY                             BANKRUPTCY                     OTHER STATUTES              I
    0 110 Insurance                           PERSONAL INJURY                    PERSONAL INJURY             0 625 Drug Related Seizure             0 422 Appeal 28 USC 158            0 375 False Claims Act
    0 120 Marine                         0 310 Airplane                      0 365 Personal Injury •               of Property 21 USC 881           0 423 Withdrawal                   0 376 Qui Tam (3 I USC
    0 130 Miller Act                     0 315 Airplane Product                    Product Liability         0 690Other                                   28 USC 157                          3729(a))
    0 140 Negotiable Instrument                    Liability                 0 367 Health Care/                                                                                        0 400 State Reapportionment
    0 150 Recovery of Overpayment        0    320 Assault, Libel &                 Pharmaceutical                                                        PROPERTY RIGHTS               0 4 IO Antitrust
          & Enforcement of Judgment                Slander                         Personal Injury                                                  0 820 Copyrights                   0 430 Banks and Banking
    0 151 Medicare Act                   0    330 Federal Employers'               Product Liability                                                0 830 Patent                       0 450 Commerce
    0 152 Recovery of Defaulted                    Liability                 0 368 Asbestos Personal                                                0 835 Patent - Abbreviated         0 460 Deportation
          Student Loans                  0    340 Marine                            Injury Product                                                        New Drug Application         0 4 70 Racketeer Influenced and
          (Excludes Veterans)            0    345 Marine Product                   Liability                                                        0 840 Trademark                           Corrupt Organizations
    0 153 Recovery of Overpayment                  Liability                  PERSONAL PROPERTY                LABOR                                    SOCIAL SECURITY                0 480 Consumer Credit
          of Veteran's Benefits          0    350 Motor Vehicle              0 370 Other Fraud      0 710 Fair Labor Standards                      0   861   HIA (1395ft)             0 485 Telephone Consumer
    0 160 Stockholders' Suits            0    355 Motor Vehicle              0 371 Truth in Lending       Act                                       0   862   Black Lung (923)                Protection Act
    0 190 Other Contract                          Product Liability          0 3 80 Other Personal  0 720 Labor/Management                          0   863   DlWC/DlWW (405(g))       0 490 Cable/Sat TV
    0 195 Contract Product Liability     0    360 Other Personal                   Property Damage                  Relations                       0   864   SSID Title XVI           0 850 Securities/Commodities/
    0 I96 Franchise                               Injury                     0 385 Property Damage           0 740 Railway Labor Act                0   865   RSI (405(g))                    Exchange
                                         0    362 Personal Injury -                Product Liability         0 751 Family and Medical                                                  0 890 Other Statutory Actions
                                                  Medical Maloractice                                               Leave Act                                                          0 891 Agricultural Acts
I           REAL PROPERTY                         CIVIL RIGHTS                PRISONER PETITIONS             0 790 Other Labor Litigation                FEDERAL TAX SUITS             Ql 893 Environmental Matters
    0   2 IO Land Condemnation           0 440 Other Civil Rights       Habeas Corpus:                       0 791 Employee Retirement              0 870 Taxes (U.S. Plaintiff        0 895 Freedom of Information
    0   220 Foreclosure                  0 441 Voting                 0 463 Alien Detainee                         Income Security Act                    or Defendant)                       Act
    0   230 Rent Lease & Ejectment       0 442 Employment             0 510 Motions to Vacate                                                       0 871 IRS-Third Party              0 896 Arbitration
    0   240 Torts to Land                0 443 Housing/                     Sentence                                                                      26 USC 7609                  0 899 Administrative Procedure
    0   245 Tort Product Liability             Accommodations         0 530 General                                                                                                           Act/Review or Appeal of
    0   290 All Other Real Property      0 445 Amer. w/Disabilities - 0 535 Death Penalty                            IMMIGRATION                                                              Agency Decision
                                               Employment               Other:                               0 462 Naturalization Application                                          0 950 Constitutionality of
                                         0 446 Amer. w/Disabilities - 0 540 Mandamus & Other                 0 465 Other Immigration                                                          State Statutes
                                               Other                  0 550 Civil Rights                           Actions
                                         0 448 Education              0 555 Prison Condition
                                                                      0 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement

V. ORIGIN (Placean               "X"'inOneBoxOnly)
ll'( l Original               O 2 Removed from                    □ 3       Remanded from               0 4 Reinstated or       O 5 Transferred from                O 6 Multidistrict            □     8 Multidistrict
            Proceeding            State Court                               Appellate Court                 Reopened                Another District                    Litigation ·                     Litigation -
                                                                                                                                        (specify)                       Transfer                         Direct File
                                                  Cite the U.S. Civil Statute under which you are filing (Do not citeA.llrisdictional statlltes llnless diversity):
    VI. CAUSE OF ACTION 1-F_e_d_e_ra_l_W_a_t_er_P_o_l_lu_tio_n_C_on_t_ro_l_A_ct_(,_"C_l_e_an_W_a_te_r_c_t"...,),_3_3_U_._S_.C_._1_3_65-'('-a-'-)_ _ _ _ _ _ _ _ _ _ _ __
                                                  Brief description of cause:
                      Damages to farms from continuing discharges of heavily polluted stormwater from Defendants' facility
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION            DEMAND $                             CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P. Injunction, Civil Penalties, Damages, Attorneys' Fees JURY DEMAND:         l1'( Yes   □ No

VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                 DOCKET NUMBER
    DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
    02/20/2019                                                                  /s/ Tyler J. Sniff
    FOR OFFICE USE ONLY

        RECEIPT#                      AMOUNT                                         APPL YING IFP                                     JUDGE                               MAG.JUDGE
